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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS


 DARELTECH, LLC,

           Plaintiff,

           v.

 SAMSUNG ELECTRONICS CO. LTD.
 AND SAMSUNG ELECTRONICS
 AMERICA, INC.,

           Defendants.                            Civil Action No.: 4:18-CV-00702



 SAMSUNG ELECTRONICS CO. LTD.
 AND SAMSUNG ELECTRONICS
 AMERICA, INC.,

          Counterclaim-Plaintiffs,

           v.

 DARELTECH, LLC,

           Counterclaim-Defendant.



           COUNTERCLAIM DEFENDANT DARELTECH, LLC’S ANSWER
                IN REPLY TO SAMSUNG’S COUNTERCLAIMS

        Counterclaim-Defendant Dareltech, LLC (“Dareltech”), hereby files its Answer to

Samsung Electronics Co. Ltd. And Samsung Electronics America, Inc’s., (collectively

“Samsung”) Counterclaims to Plaintiff’s First Amended Complaint for Patent Infringement (the

“Counterclaims”) and in support thereof, states as follows:
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                                             PARTIES

          1.    Dareltech lacks knowledge or information sufficient to form a belief as to the

truth of the allegations set forth in paragraph 1 of the Counterclaims.

          2.    Dareltech lacks knowledge or information sufficient to form a belief as to the

truth of the allegations set forth in paragraph 2 of the Counterclaims.

          3.    Dareltech admits the allegations contained in paragraph 3 of the Counterclaims.

                                       JURISDICTION AND VENUE

          4.    Dareltech admits that Samsung’s Counterclaims purport to be a claim for

declaratory judgment of non-infringement and invalidity of U.S. Patent Nos. 8,593,427 (the

“’427 Patent”), 8,717,328 (the “’328 Patent, and the 9,075,612 (the “’612 Patent”). Except as

expressly admitted, Dareltech denies the allegations in paragraph 4 of Samsung’s Counterclaims.

          5.    Dareltech admits the allegations contained in paragraph 6 of Samsung’s

Counterclaims.

          6.    Dareltech admits that this Court has personal jurisdiction over Samsung for this

action.

          7.    Dareltech admits that, for purposes of this action only, that venue is proper in this

District.

               COUNTERCLAIM ONE: NON-INFRINGEMENT OF THE ’427 PATENT

          8.    Dareltech admits that the Samsung Counterclaimants restate and incorporate by

reference each of the allegations in paragraphs 1 through 7 of the Counterclaims as though fully

set forth herein. Dareltech repeats and re-alleges all the responses in paragraphs 1 through 7

above, as if set forth fully herein.




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        9.      Dareltech denies the allegations contained in paragraph 9 of Samsung’s

Counterclaims.

        10.     Dareltech admits the allegations contained in paragraph 10 of Samsung’s

Counterclaims.

        11.     Dareltech denies the allegations contained in paragraph 11 of Samsung’s

Counterclaims.

        12.     Dareltech admits that the Samsung Counterclaimants purport to seek a declaration

that Samsung does not infringe and has not infringed (whether directly, contributorily, or by

inducement) literally or under the doctrine of equivalents any claim of the ’427 Patent.

        13.     Dareltech denies the allegations contained in paragraph 13 of Samsung’s

Counterclaims.

                  COUNTERCLAIM TWO: INVALIDITY OF THE ’427 PATENT

        14.     Dareltech admits that the Samsung Counterclaimants restate and incorporate by

reference each of the allegations in paragraphs 1 through 13 of the Counterclaims as though fully

set forth herein. Dareltech repeats and re-alleges all the responses in paragraphs 1 through 13

above, as if set forth fully herein.

        15.     Dareltech denies the allegations contained in paragraph 15 of Samsung’s

Counterclaims.

        16.     Dareltech admits the allegations contained in paragraph 16 of Samsung’s

Counterclaims.

        17.     Dareltech denies the allegations contained in paragraph 17 of Samsung’s

Counterclaims.




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        18.     Dareltech admits that the Samsung Counterclaimants purport to seek a declaration

that the ’427 Patent is invalid.

        19.     Dareltech denies the allegations contained in paragraph 19 of Samsung’s

Counterclaims.

           COUNTERCLAIM THREE: NON-INFRINGEMENT OF THE ’328 PATENT

        20.     Dareltech admits that the Samsung Counterclaimants restate and incorporate by

reference each of the allegations in paragraphs 1 through 19 of the Counterclaims as though fully

set forth herein. Dareltech repeats and re-alleges all the responses in paragraphs 1 through 19

above, as if set forth fully herein.

        21.     Dareltech denies the allegations contained in paragraph 21 of Samsung’s

Counterclaims.

        22.     Dareltech admits the allegations contained in paragraph 22 of Samsung’s

Counterclaims.

        23.     Dareltech denies the allegations contained in paragraph 23 of Samsung’s

Counterclaims.

        24.     Dareltech admits that the Samsung Counterclaimants purport to seek a declaration

that Samsung does not infringe and has not infringed (whether directly, contributorily, or by

inducement) literally or under the doctrine of equivalents any claim of the ’328 Patent.

        25.     Dareltech denies the allegations contained in paragraph 25 of Samsung’s

Counterclaims.

                  COUNTERCLAIM FOUR: INVALIDITY OF THE ’328 PATENT

        26.     Dareltech admits that the Samsung Counterclaimants restate and incorporate by

reference each of the allegations in paragraphs 1 through 25 of the Counterclaims as though fully




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set forth herein. Dareltech repeats and re-alleges all the responses in paragraphs 1 through 25

above, as if set forth fully herein.

        27.     Dareltech denies the allegations contained in paragraph 27 of Samsung’s

Counterclaims.

        28.     Dareltech admits the allegations contained in paragraph 28 of Samsung’s

Counterclaims.

        29.     Dareltech denies the allegations contained in paragraph 29 of Samsung’s

Counterclaims.

        30.     Dareltech admits that the Samsung Counterclaimants purport to seek a declaration

that the ’328 Patent is invalid.

        31.     Dareltech denies the allegations contained in paragraph 30 of Samsung’s

Counterclaims.

              COUNTERCLAIMS FIVE: NON-INFRINGEMENT OF THE ’612 PATENT

        32.     Dareltech admits that the Samsung Counterclaimants restate and incorporate by

reference each of the allegations in paragraphs 1 through 31 of the Counterclaims as though fully

set forth herein. Dareltech repeats and re-alleges all the responses in paragraphs 1 through 19

above, as if set forth fully herein.

        33.     Dareltech denies the allegations contained in paragraph 33 of Samsung’s

Counterclaims.

        34.     Dareltech admits the allegations contained in paragraph 34 of Samsung’s

Counterclaims.

        35.     Dareltech denies the allegations contained in paragraph 35 of Samsung’s

Counterclaims.




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        36.     Dareltech admits that the Samsung Counterclaimants purport to seek a declaration

that Samsung does not infringe and has not infringed (whether directly, contributorily, or by

inducement) literally or under the doctrine of equivalents any claim of the ’612 Patent.

        37.     Dareltech denies the allegations contained in paragraph 37 of Samsung’s

Counterclaims.

                   COUNTERCLAIM SIX: INVALIDITY OF THE ’612 PATENT

        38.     Dareltech admits that the Samsung Counterclaimants restate and incorporate by

reference each of the allegations in paragraphs 1 through 37 of the Counterclaims as though fully

set forth herein. Dareltech repeats and re-alleges all the responses in paragraphs 1 through 37

above, as if set forth fully herein.

        39.     Dareltech denies the allegations contained in paragraph 39 of Samsung’s

Counterclaims.

        40.     Dareltech admits the allegations contained in paragraph 40 of Samsung’s

Counterclaims.

        41.     Dareltech denies the allegations contained in paragraph 41 of Samsung’s

Counterclaims.

        42.     Dareltech admits that the Samsung Counterclaimants purport to seek a declaration

that the ’612 Patent is invalid.

        43.     Dareltech denies the allegations contained in paragraph 42 of Samsung’s

Counterclaims.




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                                     PRAYER FOR RELIEF

       WHEREFORE, having fully responded to the allegations contained in Defendants’

Answer and Counterclaim, Dareltech prays for the following:

       1. That Defendants’ Answer and Counterclaim be dismissed with costs;

       2. That Plaintiff be granted the relief requested in the Complaint;

       3. For such other and further relief as the Court may determine to be just and proper.



                                             Respectfully Submitted,

 Dated: May 8, 2019                            /s/ David L. Hecht
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                                              Attorneys for Plaintiff and Counter Defendant
                                              Dareltech, LLC.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2019, I electronically filed the foregoing document with

the Clerk of the Court for the Eastern District of Texas using the CM/ECF System which will

send notifications to the registered participants of the ECF System as listed on the Court’s Notice

of Electronic Filing.


                                                             /s/ David L. Hecht
                                                             David L. Hecht




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